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  EXHIBIT 1
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                 Analysis of automobile manufacturers’ efforts
                 reveals security and privacy gaps




Tracking & Hacking:
Security & Privacy Gaps Put American
Drivers at Risk




                                                                      February 2015
                                                              www.markey.senate.gov
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                              EXECUTIVE SUMMARY
  New technologies in cars have enabled valuable                      manufacturers, and many manufacturers did
features that have the potential to improve driver                    not seem to understand the questions posed
safety and vehicle performance. Along with these                      by Senator Markey.
benefits, vehicles are becoming more connected                    4. Only two automobile manufacturers were able
through electronic systems like navigation, infotain-                to describe any capabilities to diagnose or
ment, and safety monitoring tools.                                   meaningfully respond to an infiltration in
  The proliferation of these technologies raises                     real-time, and most say they rely on technolo-
concerns about the ability of hackers to gain access                 gies that cannot be used for this purpose at
and control to the essential functions and features                  all.
of those cars and for others to utilize information on            5. Automobile manufacturers collect large
drivers’ habits for commercial purposes without the                  amounts of data on driving history and vehicle
drivers’ knowledge or consent.                                       performance.
   To ensure that these new technologies are not                  6. A majority of automakers offer technologies
endangering or encroaching on the privacy of                         that collect and wirelessly transmit driving
Americans on the road, Senator Edward J. Markey                      history data to data centers, including
(D-Mass.) sent letters to the major automobile                       third-party data centers, and most do not
manufacturers to learn how prevalent these technol-                  describe effective means to secure the data.
ogies are, what is being done to secure them against              7. Manufacturers use personal vehicle data in
hacking attacks, and how personal driving informa-                   various ways, often vaguely to “improve the
tion is managed.1                                                    customer experience” and usually involving
                                                                     third parties, and retention policies – how long
   This report discusses the responses to this letter
                                                                     they store information about drivers – vary
from 16 major automobile manufacturers: BMW,
                                                                     considerably among manufacturers.
Chrysler, Ford, General Motors, Honda, Hyundai,
Jaguar Land Rover, Mazda, Mercedes-Benz, Mitsubi-                 8. Customers are often not explicitly made aware
shi, Nissan, Porsche, Subaru, Toyota, Volkswagen                     of data collection and, when they are, they
(with Audi), and Volvo. Letters were also sent to                    often cannot opt out without disabling
Aston Martin, Lamborghini, and Tesla, but those                      valuable features, such as navigation.
manufacturers did not respond.                                   These findings reveal that there is a clear lack of
  The responses reveal the security and privacy                appropriate security measures to protect drivers
practices of these companies and discuss the wide              against hackers who may be able to take control of a
range of technology integration in new vehicles, data          vehicle or against those who may wish to collect and
collection and management practices, and security              use personal driver information.
measures to protect against malicious use of these               In response to the privacy concerns raised by
technologies and data. The key findings from these             Senator Markey and others, the two major coalitions
responses are:                                                 of automobile manufacturers recently issued a
  1. Nearly 100% of cars on the market include                 voluntary set of privacy principles by which their
     wireless technologies that could pose vulnera-            members have agreed to abide. These principles
     bilities to hacking or privacy intrusions.                send a meaningful message that automobile
                                                               manufacturers are committed to protecting consum-
  2. Most automobile manufacturers were un-
                                                               er privacy by ensuring transparency and choice,
     aware of or unable to report on past hacking
                                                               responsible use and security of data, and account-
     incidents.
                                                               ability. However, the impact of these principles
  3. Security measures to prevent remote access                depend in part on how the manufacturers interpret
     to vehicle electronics are inconsistent and               them, because (1) the specific ways that transparency
     haphazard across all automobile


     1.
          http://www.markey.senate.gov/news/press-releases/as-wireless-technology-becomes-standard-markey-queries-car-
          companies-about-security-privacy
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    will be achieved are unclear and may not be noticed          ¡¡ Ensure that vehicles with wireless access
    by the consumer, e.g., text in the user manual,                 points and data-collecting features are
    (2) the provisions regarding choice for the consum-             protected against hacking events and security
    er only address data sharing and do not refer to                breaches;
    data collection in the first place, and (3) the guide-       ¡¡ Validate security systems using penetration
    lines for data use, security, and accountability                testing;
    largely leave these matters to the discretion of the
    manufacturers.                                               ¡¡ Include measures to respond real-time to
                                                                    hacking events;
      The alarmingly inconsistent and incomplete state
    of industry security and privacy practices, along with       ¡¡ Require that drivers are made explicitly aware
    the voluntary principles put forward by industry,               of data collection, transmission, and use;
    raises a need for the National Highway Traffic Safety        ¡¡ Ensure that drivers are given the option to opt
    Administration (NHTSA), in consultation with the                out of data collection and transfer of driver
    Federal Trade Commission (FTC) on privacy issues,               information to off-board storage;
    to promulgate new standards that will protect the
                                                                Require removal of personally identifiable informa-
    data, security and privacy of drivers in the modern
                                                             tion prior to transmission, when possible and upon
    age of increasingly connected vehicles. Such stan-
                                                             consumer request.
    dards should:



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             INTRODUCTION AND METHODOLOGY

  Today’s cars and light trucks contain more than                  headlights, and modify the speedometer and gas
50 separate electronic control units (ECUs), connect-              gauge readings.3 More recently in 2014, those same
ed through a controller area network (CAN) or other                researchers looked into the hackability of 21
network (such as Local Interconnect Networks or                    different vehicle models from 10 different
Flexray). Vehicle functionality, safety, and privacy all           manufacturers, pointing out different levels of
depend on the functions of these small computers,                  security in each vehicle with respect to wireless entry
as well as their ability to communicate with one                   points, control points, and the types of computers
another. They also have the ability to record vehicle              than could be compromised.4
data to analyze and improve performance. On-board                     Before the researchers went public with their 2013
navigation technologies as well as the ability to                  findings, they shared the results with the manufac-
integrate mobile devices with vehicle-based technol-               turers in the hopes that the companies would
ogies have also fundamentally altered the manner in                address the identified vulnerabilities. But in re-
which drivers and the vehicles themselves can                      sponse to the public release of the study, both
communicate during the vehicles’ operation.                        companies reportedly noted that the researchers
  This new technology has also resulted in an                      directly, rather than wirelessly, accessed the vehi-
increased ability to gather driving information. Such              cles’ computer systems, and referred to the need to
information-gathering abilities can be used by                     prevent remote hacking from a wireless device. What
automobile manufacturers to provide customized                     the companies failed to note is that the DARPA study
service and improve customer experiences, but in                   built on prior research that demonstrated that one
the wrong hands such information could also be                     could remotely and wirelessly access a vehicle’s CAN
used maliciously. In particular, wireless technologies             bus through Bluetooth connections, OnStar systems,
create vulnerabilities to hacking attacks that could               malware in a synced Android smartphone, or a
be used to invade a user’s privacy or modify the                   malicious file on a CD in the stereo.5
operation of a vehicle. Two recent developments                       A second, related area of concern relates to the
highlight potential threats to both automobile                     increasing use of navigation or other technologies
security and to consumer privacy.                                  that could be used to record the location or driving
  In a 2013 study that was funded by the Defense                   history of those using them. A number of new
Advanced Research Projects Agency (DARPA), two                     services have emerged that permit the collection of
researchers demonstrated their ability to connect a                a wide range of user data, providing valuable
laptop to two different vehicles’ computer systems                 information not just to improve vehicle performance,
using a cable, send commands to different ECUs                     but also potentially for commercial and law enforce-
through the CAN, and thereby control the engine,                   ment purposes.6 This concern was highlighted when
brakes, steering and other critical vehicle                        it was revealed that Tesla Motors recorded data
components.2 In their initial tests with a laptop and              during a test drive of one of its vehicles by a reporter
two MY2010 vehicles from different manufacturers,                  and used data related to the driver’s location, energy
they were able to cause cars to suddenly accelerate,               usage, speed, temperature and other control
turn, kill the brakes, activate the horn, control the              settings to rebut the reporter’s unfavorable review of


      2
           “Adventures in Automotive Networks and Control Units,” Dr. Charlie Miller and Chris Valasek,
            http://illmatics.com/car_hacking.pdf
      3
           http://www.npr.org/blogs/alltechconsidered/2013/07/30/206800198/Smarter-Cars-Open-New-Doors-To-Smarter-Thieves
      4
           “Black Hat 2014: Hacking the Smart Car,” Mark Anderson, IEEE Spectrum,
            http://spectrum.ieee.org/cars-that-think/transportation/systems/black-hat-2014-hacking-the-smart-car
      5
           See “Researchers Show How a Car’s Electronics Can Be Taken Over Remotely,” John Markoff, The New York Times,
           March 9, 2011, http://www.nytimes.com/2011/03/10/business/10hack.html
           http://www.autosec.org/pubs/cars-oakland2010.pdf and http://www.autosec.org/pubs/cars-usenixsec2011.pdf
      6
           “Dash is Turning Cars into Futurists, Data-Collecting Machines with an App and a Cheap Plastic Dongle”, Alyson
            Shontell, Business Insider, http://www.businessinsider.com/a-tiny-piece-of-hardware-turns-your-vehicle-into-a-
            smart-car-that-talks-and-collect-tons-of-data-2013-8
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    his driving experience.7 Car dealerships and naviga-               vehicle privacy protections by issuing its own set of
    tion systems providers have also begun to use                      voluntary privacy principles.10 These voluntary
    “remote disabling”, which enable them to track and                 principles were developed and supported by the
    disable vehicles if drivers do not keep up with their              Alliance of Automobile Manufacturers and the
    payments8 or if cars have been reported as stolen,                 Association of Global Automakers, which combined
    which can raise safety concerns if the vehicles are                represent 23 major automobile manufacturers,
    disabled during an emergency or when the driver is                 including all of the manufacturers that responded to
    left stranded in an unsafe location.                               Senator Markey with the exception of Audi. The
      Furthermore, vehicle-to-vehicle (V2V) technologies               adopted principles include (1) transparency,
    are emerging as a viable tool for improving active                 (2) choice, (3) respect for context, (4) data minimiza-
    safety through collision avoidance, and one of the                 tion, de-identification and retention, (5) data security,
    main unknowns in their development is a robust                     (6) integrity and access, and (7) accountability. The
    communication security system.9 As vehicles                        establishment of these principles, and the agree-
    continue to become more integrated with wireless                   ment to them by 19 manufacturers (including all of
    technology, there are more avenues through which                   those that responded to Senator Markey’s letter with
    a hacker could introduce malicious code, and more                  the exception of Jaguar Land Rover), represent an
    avenues through which a driver’s basic right to                    important step forward by the automotive industry.
    privacy could be compromised. These threats                           Through the voluntary principles, the automakers
    demonstrate the need for robust vehicle security                   assure consumers that they will be informed when
    policies to ensure the safety and privacy of our                   data collection occurs and given choices regarding
    nation’s drivers.                                                  whether their information can be used for marketing
       In order to better understand the ability of automo-            purposes, companies will not pass on any informa-
    bile companies to protect the safety and privacy of                tion to law enforcement without a warrant or court
    drivers, letters were sent to 20 major automobile                  order, and “reasonable” security measures will be in
    manufacturers with questions regarding technology,                 place to protect data from falling into the wrong
    security precautions, and privacy policies. The                    hands. However, the principles continue to raise a
    questions posed were identical for each manufactur-                number of questions regarding how car manufactur-
    er. Responses were received from 16 manufacturers.                 ers will effectively make their practices transparent
    Tesla Motors, Aston Martin, and Lamborghini, did not               to consumers and provide consumers with rights to
    respond to the letters. Volkswagen and Audi re-                    prevent sensitive data collection in the first place,
    sponded with a single letter and are together treated              among other concerns.
    in the findings as a single responding manufacturer.                  The diversity of responses received by Senator
    Some manufacturers (notably Hyundai and Toyota)                    Markey shows that each manufacturer is handling
    provided detailed, question-by-question responses,                 the introduction of new technology in very different
    while others (notably Mercedes-Benz and Porsche)                   ways, and for the most part these actions are
    wrote generic statements on their commitments to                   insufficient to ensure security and privacy for vehicle
    security and privacy that were non-responsive to the               consumers. Individual automaker responses will not
    questions that were posed.                                         be publicly released due to the proprietary and
      Recently, and as a result of the questions posed by              security-sensitive nature of some of the responses.
    Senator Markey, the automobile industry has                        The following sections summarize the major findings
    acknowledged the deficiencies and inconsistences                   from the analysis of responses conducted by Senator
    between manufacturers in existing practices for                    Markey’s staff.


         7
              See “Elon Musk’s Data Doesn’t Back Up His Claims of New York Times Fakery”, Rebecca Greenfield, The Atlantic Wire,
              http://www.theatlanticwire.com/technology/2013/02/elon-musks-data-doesnt-back-his-claims-new-york-times-fakery/62149/
              and http://www.teslamotors.com/blog/most-peculiar-test-drive
         8
              “Late on a Car Loan? Meet the Disabler”, Jonathan Welsh, The Wall Street Journal,
              http://online.wsj.com/article/SB123794137545832713.html,
         9
              Vehicle-to-Vehicle Technologies Expected to Offer Safety Benefits, but a Variety of Deployment Challenges Exist”,
              Government Accountability Office, GAO-14-13, http://www.gao.gov/assets/660/658709.pdf
         10
              “Consumer Privacy Protection Principles, Alliance of Automobile Manufacturers, Inc. and Association of Global
               Automakers, Inc., November 12, 2014,
               http://www.autoalliance.org/index.cfm?objectid=CC629950-6A96-11E4-866D000C296BA163
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                                                FINDINGS

Finding #1: Nearly 100% of cars on the                         did address the issue, 12 stated that they had no
market include wireless technologies that                      knowledge of any reported infiltration events, and
could pose vulnerabilities to hacking or                       only 1 reported such instances. This company
privacy intrusions.                                            described the following in detail:

   Wireless technologies in vehicles are becoming                   ¡¡ An application was developed by a third party
more prevalent as manufacturers have found ways                        and released for Android devices that could
that they can be used to improve safety, perfor-                       integrate with a vehicle through the Bluetooth
mance, and the driver experience. However, wireless                    connection. A security analysis did not
technologies also require wireless entry points                        indicate any ability to introduce malicious
(WEPs), or ways that vehicle electronics can be                        code or steal data, but the manufacturer had
accessed remotely. In 2011 a group of researchers                      the app removed from the Google Play store
showed WEPs in automobiles pose vulnerabilities,                       as a precautionary measure.
and they were able to remotely hack into a vehicle                  ¡¡ Some individuals have attempted to repro-
and exploit these vulnerabilities, including engaging                  gram the onboard computers of vehicles to
in location tracking and eavesdropping, and                            increase engine horsepower or torque
controlling different features including the locks                     through the use of “performance chips”.
and brakes.11                                                          Some of these devices plug into the mandat-
   Of the 16 manufacturers that responded to the                       ed onboard diagnostic port or directly into the
letter, 14 provided information on the percentage                      under-the-hood electronics system.
of model year (MY) 2013 vehicles and the projected             Finding #3: Security measures to prevent
percentage of MY 2014 vehicles that have WEPs.                 remote access to vehicle electronics are
Of the 14, 11 indicated that 100% of their vehicles            inconsistent and haphazard across all auto-
have WEPs, and some of these manufacturers cited               mobile manufacturers, and many manufactur-
the federal mandate for tire pressure monitoring
                                                               ers did not seem to understand the ques-
systems (TPMS) as a major contributor. Of the 3 who
did not indicate that all vehicles have WEPs, the
                                                               tions posed by Senator Markey.
reported percentages of vehicles without WEPs were               Manufacturers were asked how they assess their
low, ranging from 7% to 30% and either stagnant or             security against WEP infiltration, whether they use
decreasing from 2013 to 2014.                                  third-party testing to verify security, and how they
                                                               handle software updates associated with recalls and
   These responses show that nearly all vehicles on
                                                               service campaigns to ensure that these are done
the road have at least one WEP, and many vehicles
                                                               securely. The questions specifically asked about
have several WEPs. These include but may not be
                                                               vulnerabilities associated with tire pressure monitor-
limited to TPMS, Bluetooth, keyless entry, remote
                                                               ing systems, Bluetooth/wireless communications
start, navigation, Wi-Fi, cellular/telematics, radio,
                                                               technologies, Onstar/navigation systems, smart
and anti-theft systems and features.
                                                               phone/mobile device integration, web browsers,
Finding #2: Most automobile manufacturers                      electronic control units (ECUs), and vehicle-to-vehicle
were unaware of or unable to report on past                    communication technologies.
hacking incidents.                                                Of the 16 automobile manufacturers that respond-
   Senator Markey asked each of the manufacturers              ed to the letter, 13 of them addressed these ques-
to list and describe instances in which they have              tions in some way. Chrysler, Mercedes-Benz, and
been made aware of wireless or non-wireless                    Mazda did not respond to the question at all, and
infiltration events in their vehicles. Of the 16 manu-         five other manufacturers provided general responses
facturers who responded to the letter, Jaguar Land             that addressed the question as a whole instead of
Rover, Porsche, and Volkswagen did not respond to              providing specific responses to the questions’
the question in any way. Of the 13 companies who               sub-parts.

     11
          “Researchers Show How a Car’s Electronics Can Be Taken Over Remotely”, John Markoff, The New York Times,
           March 9, 2011, http://www.nytimes.com/2011/03/10/business/10hack.html
                                                                                                                         5
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      This question seems to have been interpreted               Seven of the manufacturers stated that they use
    differently by different manufacturers. About half of      third-party testing to verify their security measures,
    the responses described security or encryption             while 5 stated that they do not and 4 did not re-
    measures for general or specific WEPs that were            spond to this part of the question.
    more related to ensuring the WEPs were working as            Automakers were also asked about the number of
    intended but not to ensuring that a security breach        safety recalls and service campaigns issued by the
    could not occur, and the other half mentioned              manufacturers over the five-year period from 2009-
    procedures used in their development process to            2013 and whether those recalls or service cam-
    conduct targeted evaluations of their security             paigns involved software updates that could be used
    measures. The responses revolving around security          to introduce malware. Chrysler, Mercedes-Benz,
    and encryption measures varied widely from manu-           Porsche, and Volkswagen did not respond, with the
    facturer to manufacturer, and included the following:      other 12 companies provided different levels of
      1. Unique identification numbers and specific            detail in their responses. The responses ranged from
         sets of radio-frequency signals;                      27-210 combined recall or campaign events during
      2. Receptor to determine frequency strength              that five-year period, with 11-44% of those including
         of sensors to allow for proximity of legitimate       software updates of some kind, all of which were
         communications;                                       delivered using a hardwire connection (not over-the-
                                                               air like some mobile phone updates are delivered)
      3. Encrypted codes and dedicated wireless
                                                               through a dealer or service center.
         devices;
                                                                  The manufacturers were also asked about how
      4. Encryption, masking, scanning, anomaly
         detection, certificates, filtering, firewalls, data   they secure this type of software delivery. Each
         loss prevention, access control, intrusion            manufacturer responded with descriptions of how
         detection systems, white listing, fraud detec-        they provide such software through authorized
         tion, zoning, network segregation and propri-         dealers with the appropriate tools. Automobile
         etary communication tools;                            security experts consulted by Senator Markey’s staff
                                                               said that all of the responses are similar in that they
      5. Closed systems where the implementations
                                                               presume a malicious actor could not access or
         do not allow the ability for code to be written
                                                               acquire the technologies that mechanics have. They
         without authorized tools;
                                                               state that software updates for systems should be
      6. Secure Sockets Layer to encrypt the data of           cryptographically verified by the ECU being updated
         network connections;                                  in order to effectively prevent intrusions.
      7. Seed-key security to protect against unautho-         Finding #4: Only two automobile manufactur-
         rized access to the ECU.
                                                               ers were able to describe any capabilities to
      Automobile security experts consulted by Senator         diagnose or meaningfully respond to an
    Markey’s staff said that unique ID numbers and             infiltration in real-time, and most say they
    radio frequencies (responses 1, 2) can be identified       rely on technologies that cannot be used
    by hackers, that closed system codes (responses 3,
                                                               for this purpose at all.
    5) have been proven to be re-writable, and seed-key
    security (response 7) is easily bypassed.                     When asked about how manufacturers are
                                                               capable of monitoring electronic systems in real-time
       The other half of the responses named procedures
                                                               in order to detect and respond to potential intru-
    utilized in the development process that manufactur-
                                                               sions, most of the responses described systems that
    ers use to ensure WEP security, which was more in
                                                               can only record information on-board the vehicle.
    line with the wording and intent of the question.
                                                               This means that infiltrations would only come to the
    These responses included the following steps:
                                                               attention of the manufacturer if that data were
        ¡¡ Threat modeling;                                    manually downloaded by a dealer or service center
        ¡¡ Penetration testing;                                at some subsequent date. When asked about how
                                                               they would respond to an infiltration, most manufac-
        ¡¡ Input validation and verification;                  turers did not respond or mentioned generic security
        ¡¡ Virtual testing;                                    systems in place. Only two manufacturers described
        ¡¡ Component testing;                                  credible real-time reactions to an intrusion event.

        ¡¡ Physical testing.                                     The manufacturers were asked whether they
                                                               include technologies to monitor vehicle CAN buses


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(the “controller area networks” that manage the         the seed-key system (response 5) could be bypassed
communications among the different electronic           by malicious actors.
systems in a vehicle) and to monitor WEPs. They           The question of monitoring WEPs for intrusions
were then asked about how they would respond to         received similar responses. Of the eight manufactur-
reports or detection of an unauthorized intrusion,      ers that responded:
a remote attack, or inadvertent introduction of
malicious code to a WEP. Only eight of sixteen             1. Four manufacturers mentioned that some of
manufacturers responded to these questions, six of            the features themselves are equipped with
which claim to do CAN bus monitoring and five of              encryption and security technologies;
which claim to be able to detect wireless intrusions.      2. One manufacturer mentioned continuous ECU
The other 2 manufacturers who responded to the                monitoring (also above);
question admitted that they do not monitor the CAN         3. One manufacturer described the firewall/
bus, but they are developing systems to do so. Of             watchdog system (also above);
the other eight companies, Mercedes-Benz, Nissan,
                                                           4. One manufacturer described the seed-key
and Porsche did not respond at all, and five other
                                                              security system (also above);
manufacturers stated that such information was
confidential.                                              5. One manufacturer stated that its remote keyless
                                                              entry systems can record key code authentica-
   The responses received varied in level of detail           tion failures.
and in their methods of monitoring CAN buses. The
six manufacturers who claim to monitor CAN buses           The encryption and security measures (response
cited the following:                                    group 1) are not systems that can detect intrusion
                                                        events. Automobile security experts consulted by
  1. One manufacturer claimed to have a propri-         Senator Markey’s staff have noted that the ECU mon-
     etary system that cannot be disclosed;
                                                        itoring (response 2) described simply monitors the
  2. Two manufacturers claimed that the electronic      normal functioning of an ECU, the firewall/watchdog
     control unit (ECU) is equipped with; monitor-      systems (response 3) would only protect against
     ing systems that can detect unusual signals,       random outside influences like electromagnetic
     which would alert the manufacturer only if the     frequency interference and not malicious intrusions,
     data were later retrieved at a service center      the seed-key system (response 4) can be defeated
     or dealership;                                     by hackers, and the remote keyless entry systems
  3. One manufacturer described a firewall and          (response 5) will only protect against people getting
     watchdog system that shields communication         into the car to steal it but will do nothing to prevent
     and recognizes inconsistencies at gateways;        or respond to remote hacking. Also, only 1 of the
  4. One manufacturer listed message authentica-        systems, the seed-key system, is capable of alerting
     tion, intrusion detection, controller hardening    the manufacturer in real-time.
     protection, secure diagnostics, secure gate-          Finally, on the question of how the manufacturers
     ways, and secure programming;                      would respond to an intrusion in real-time, six of the
  5. One manufacturer mentioned that seed-key           manufacturers did not respond, and six more
     security is applied to protect vehicles from       responded with vague mentions of security systems
     unauthorized access, which generates a             and “taking appropriate actions” such as recalls and
     random security variable which must be             service campaigns that could not be used to respond
     matched in order to allow communication            in real-time. The other four manufacturers provided
     access.                                            the following responses:
   Automobile security experts consulted by Senator        1. One manufacturer claimed that it would
Markey’s staff noted that the ECU monitoring                  contact the subscriber through the telematics
(response 2) and firewall/watchdog systems (re-               program to alert them and resolve any
sponse 3) would only check for unusual network                problems;
behavior and not detect any problems with the data         2. One manufacturer said that it has the ability to
itself. An analogy was given to compare it to some-           disable certain connected features;
body receiving threatening phone calls, where the
                                                           3. One manufacturer claimed that it could place
phone company is monitoring the lines to see if
                                                              a vehicle in a “fail-safe” mode that may limit
phone calls are getting through, but not checking the
                                                              vehicle operation if malfunctions that could
content of the conversations. They also noted that
                                                              cause damage occur;


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       4. One manufacturer stated that it would have                ¡¡ Physical location recorded at regular intervals;
          the option to safely slowdown and immobilize              ¡¡ Previous destinations entered into navigation
          an impacted vehicle if the vehicle is in motion
                                                                       system;
          at the time of detection.
                                                                    ¡¡ Last location parked.
      The first 2 of these responses, contacting through
    the telematics program or disabling features, would             ¡¡ System settings for event data recorder (EDR)
    not be an effective real-time way to deal with an                  devices (5 manufacturers), which can
    ongoing attack, according to automobile security                   include:
    experts consulted by Senator Markey’s staff. Re-                ¡¡ Potential crash events, such as sudden
    sponses 3 and 4, fail-safe mode and remote slow-                   changes in speed;
    down and immobilization, are the only responses
    that indicate an ability to immediately respond to              ¡¡ Status of steering angle, brake application,
    security threats and address the situation for the                 seat belt use, and air bag deployment;
    drivers who subscribe to their telematics providers.            ¡¡ Fault/error codes in electronic systems.
      These three questions and their responses have                ¡¡ Operational data (7 manufacturers), such as:
    revealed that, of the manufacturers who were willing            ¡¡ Vehicle speed;
    to respond, only one of them appears to be able to
    detect wireless intrusions, and only one or two have            ¡¡ Direction/heading of travel;
    described credible means of responding to such                  ¡¡ Distances and times traveled;
    intrusions in real time.
                                                                    ¡¡ Average fuel economy/consumption;
    Finding #5: Automobile manufacturers                            ¡¡ Status of power windows, doors, and locks;
    collect large amounts of data on driving
    history and vehicle performance.                                ¡¡ Tire pressure;

       New vehicles are capable of collecting a                     ¡¡ Fuel level;
    tremendous amount of data through a variety of                  ¡¡ Tachometer reading (engine RPM gauge);
    pre-installed technological systems. Senator                    ¡¡ Odometer reading;
    Markey’s letter asked manufacturers about (1) what
    types of navigation technology or other technologies            ¡¡ Mileage since last oil change;
    are in their vehicles with the ability to collect driving       ¡¡ Battery health;
    history information, (2) what percentage of U.S.
                                                                    ¡¡ Coolant temperature;
    automobiles contain such technologies in MY2013
    and MY2014, and (3) what types of information can               ¡¡ Engine status;
    be collected. Honda, Porsche, and Mercedes-Benz                 ¡¡ Exterior temperature and pressure.
    did not respond to these questions, and the other
    13 manufacturers responded with various levels of             While three of the manufacturers who responded
    completeness.                                               claimed to not record any driving history information,
                                                                three others listed all three of the categories above.
      The responses to the first question included a
    range of navigation, telematics, infotainment,                 The percentages of vehicles that contain such
    emergency assist, stolen vehicle recovery, and event        technologies varied greatly among the manufactur-
    data recording systems that have the ability to record      ers, with some claiming that almost no vehicles have
    driving history information. These included branded         them while others claim that all of their vehicle
    products like OnStar and SYNC as well as other              models do. The percentages are shown in the chart
    unbranded technologies, collecting a diverse set of         below, with a median response of 35% of vehicles
    data types that included the following:                     from a manufacturer containing technologies that
                                                                can collect driving history information. These
        ¡¡ Geographic location (7 manufacturers),               percentages either showed slight increases or
           such as:                                             stagnation from MY2013-MY2014.




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               PERCENTAGE OF VEHICLES THAT CAN
                   RECORD DRIVING HISTORY
        100



        75



        50

35 (median)

        25



        0




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        The two coalitions of manufacturers recently          transfer all data to a central location (known as
     adopted voluntary privacy principles — namely on         off-board storage). Also, the large majority of the
     “data minimization, de-identification, and retention”    companies who responded (9 of 11) claimed that
     that attempt to address these concerns. On minimi-       they do contract with third-party companies to
     zation, this principle states that manufacturers         provide the data-collecting features that they offer.
     commit to collecting information “only as needed for     In fact, 3 manufacturers specifically stated they
     legitimate business purposes”. While this is a good      license third party companies to transmit and store
     step forward, limiting themselves to collection “only    data associated with the features.
     as needed for legitimate business purposes” still          To the question of whether driving history
     raises many questions about the extent to which          information is recorded and stored in a vehicle,
     companies will continue to collect sensitive informa-    12 manufacturers replied that they do store this
     tion. The principles also do not ensure that consum-     information in some of their vehicles (depending on
     ers will have rights to prevent data collection in the   the features the vehicle is equipped with). Only
     first place.                                             1 manufacturer stated that they do not collect such
     Finding #6: A majority of automakers offer               data, and 3 did not respond. This indicates that an
     technologies that collect and wirelessly                 overwhelming majority of vehicles collect driving
     transmit driving history data to data centers,           history information.
     including third-party data centers, and most               Of the 12 who said they collect and store driving
     do not describe effective means to secure                history data, 8 stated that they transmit and store
     the data.                                                driving history data in a server off-board the
                                                              vehicle, while the other 4 stated that they do not.
       Automobile manufacturers store data in a variety
                                                              This reveals that a majority of vehicle manufactur-
     of different ways. Some said that it is only stored
                                                              ers offer features that not only record but also
     on-board the vehicle and cannot be wirelessly
                                                              transmit driving history wirelessly to themselves or
     retrieved, and others described how they wirelessly
                                                              to third parties.



           PERCENTAGE OF AUTOMOBILE MANUFACTURERS THAT
             COLLECT AND TRANSMIT DRIVING HISTORY DATA


                                                              No
                                                              response

                                                              19%
                                       Transmit and
                                       store data
                                                                              6%
                                                                          Do not collect data
                                       off-board

                                       50%                    Collect data
                                                              on-board

                                                              25%



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   Finally, the security measures of these data             ¡¡ Provide feature functionality;
collection systems vary widely by manufacturer, and         ¡¡ Maintain and improve services;
in some cases there are none. In the case of
on-board storage, no manufacturer described any             ¡¡ Address vehicle safety concerns;
security system to protect that data, and several of        ¡¡ Diagnose and assist with technical issues;
them noted that no security measure is needed
                                                            ¡¡ Respond when the system senses the vehicle
since accessing data would require a hardwire
                                                               has been involved in an accident;
connection. Regarding security measures to protect
data that is wirelessly transmitted outside the             ¡¡ Fulfill requests for service by customers;
vehicle, only 6 responses were received. Of those,          ¡¡ Research purposes (analytics and marketing).
5 provided vague responses naming encryption,
passwords, or general IT security practices, and           Many of these responses are vague and not
only 1 specifically mentioned that they designed        well-defined, such as providing feature functionality,
their systems to limit the transfer of personally       maintaining and improving services, and serving
identifiable information.                               research purposes. This lack of transparency in
                                                        personal vehicle data usage leaves consumers with
   The automakers’ voluntary privacy protection         little knowledge about how the companies actually
principles include commitments to “respect for          use their data.
context” and “data security”. The “respect for
context” principle addresses the ways that data are       Additionally, the letters revealed that 5 of the
collected and shared, and it provides a list of         8 manufacturers claimed to share this information
examples to illustrate “reasonable and responsible      with third parties to provide subscriber services. All
ways” that automakers may collect and share data        of them stated that they do not sell such information,
with both affiliated companies and non-affiliated       and 2 specifically mentioned that they do not share
entities. These include, among others, providing        any personally identifiable information. This reveals
subscribed services, conducting research, respond-      that a majority of manufacturers who collect data
ing to emergencies and faults, sharing for operation-   share that information with third party companies.
al purposes, and complying with lawful government          Another question that received a wide range of
requests — describing a sweeping suite of practices     responses was about how long driving history data
and offering no specific guidelines for reducing data   is retained in the various systems that record and
collection and sharing.                                 store them. To this question, four of the twelve
  The “data security” principle states that the         manufacturers did not answer, with the other eight
automakers commit to collecting information             providing responses that sometimes varied by
“only as needed for legitimate business purposes”,      feature/technology. These ranged from responses
which is another positive message toward reducing       that information is retained no longer than a year,
unneeded sharing of information. However, this           to responses that indicate that information is
principle offers no detail as to what may be            retained indefinitely.
included under “legitimate business purposes”,              ¡¡ Five manufacturers listed that information is
effectively leaving it open for interpretation by the          deleted after a set period of time, ranging
coalition members.                                             from one to ten years;
Finding #7: Manufacturers use personal                      ¡¡ Three manufacturers replied that there is no
vehicle data in various ways, often vaguely                    set clear date, with two of them stating that it
to “improve the customer experience” and                       can be deleted by users at any time;
usually involving third parties, and retention              ¡¡ One manufacturer stated that navigation
policies — how long they store information                     information is overwritten when the system
about drivers — vary considerably among                        runs out of memory storage space;
manufacturers.                                              ¡¡ One manufacturer said that on-board error
   A wide array of responses was received regarding            information is deleted when the vehicle fault
the ways that manufacturers use vehicle history                is cleared.
information. Of the 8 manufacturers that previously       The new industry-led voluntary privacy principles
stated that they collect such information, 3 of them    include a commitment by automakers to only collect
did not respond to this question, with the other five   data “as needed for legitimate business purposes”
listing combinations of the following uses:             and to retain identifiable or personal subscription


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     information “no longer than they determine neces-               To the question of whether and how customers can
     sary for legitimate business purposes”. The intention       disable data collection or transmission, four did not
     of this principle is positive, but these limitations are    respond. Two manufacturers said that users cannot
     subject to the interpretation of the industry and offer     disable data collection, two said that they can disable
     no explicit rules to prevent excessive collection or        it, and four stated that it is possible by turning off a
     retention. Regarding the ways in which data are             feature or canceling a service subscription.
     used, the coalitions put forth the “respect for               On the question of whether users (if they are made
     context” principle, which describes a list of “reason-      aware of data collection) can delete information, six
     able and responsible ways” that members can use             manufacturers did not respond, five specifically
     or share data collected from vehicles. This includes        noted that customers can delete data directly
     an important provision that a warrant or court order        through the navigation system interface, and one
     is needed if companies are to share geolocation             mentioned that customers can request data deletion
     information with law enforcement. Unfortunately,            by contacting the service provider.
     however, this broad proclamation provides little
     tangible assurances that consumers will not disap-            These responses show that customer awareness
     prove of the ways in which manufacturers use their          of data collection is primarily distributed within long
     sensitive information.                                      written texts such as Terms & Agreement statements
                                                                 or owner manuals. In the event that customers read
        Additionally, the automakers’ voluntary “choice”         these and are aware of them, they do, in certain
     principle specifically requires affirmative consent         cases, have the ability to delete previously-recorded
     from the consumer before sharing sensitive driving          data. However, disabling the constant collection of
     history data, specifically geolocation, biometric, and      data often requires disabling valuable vehicle
     driver behavior information, for marketing purposes         features or services.
     or with unaffiliated third parties. However, this
     commitment fails to address whether a consumer’s              The new voluntary privacy principles from the
     decision to agree or disagree will affect the function-     manufacturers partially address these concerns with
     ality of the vehicle or the features that are available     commitments to “transparency” and “choice”.
     to them. The principles also do not pertain to sharing      Signing members agree to provide consumers “with
     (1) non-sensitive data for marketing purposes, and          ready access to clear, meaningful notices about the
     (2) sensitive data for non-marketing purposes.              Participating Member’s collection, use, and sharing”
                                                                 of data. This includes a list of ways that manufactur-
     Finding #8: Customers are often not explicit-               ers can provide these notices, which include “own-
     ly made aware of data collection and, when                  ers’ manuals, on paper or electronic registration
     they are, they often cannot opt out without                 forms and user agreements, or on in-vehicle dis-
     disabling valuable features, such as                        plays”. Unfortunately, these types of notices likely do
     navigation.                                                 not guarantee an improvement over current practic-
       The primary methods manufacturers use to inform           es revealed in the responses to Senator Markey, as
     customers of data collection are by mentioning it in the    most manufacturers claimed that such notices are
     owners’ manual or including it in the terms and             already provided in user manuals and terms &
     conditions of the vehicle sale or specific feature          conditions that must be signed upon purchase.
     activation. If a customer actually becomes aware of           Regarding choice, the principle states that con-
     data collection and wishes to disable it, they often must   sumers must give “affirmative consent”, or opt in,
     accept a loss of feature functionality, such as GPS.        when certain information such as geolocation,
       Of the twelve manufacturers who confirmed that            biometrics, or driver behavior is collected or shared
     they do record and store data, three did not respond        for marketing or with unaffiliated third parties. The
     to the question on how customers are made aware             principle does not commit manufacturers to offering
     of data storage, and one stated that there is no            consumers the option to prevent data collection in
     reason to inform users of on-board storage. The             the first place or giving consumers the choice to
     other eight manufacturers listed combinations of the        remove data that have already been collected.
     following methods of notice:                                Additionally, consumers who choose not to consent
                                                                 to data collection may be denied access to valuable
         ¡¡ Owners’ manuals;                                     vehicle features. For instance, consent to sharing
         ¡¡ Privacy statements;                                  geolocation information for marketing purposes may
                                                                 be the only way for a consumer to turn on the
         ¡¡ Terms & Conditions (which must be “accepted”).
                                                                 navigation feature.


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